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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,
                                                     Civil Action No. 2:15-cv-1631-JRG-JRP
                     v.
                                                         CONSOLIDATED LEAD CASE
   RICOH AMERICAS CORPORATION, et
                                                           JURY TRIAL DEMANDED
   al.,

                          Defendants.


                          JOINT MOTION TO DISMISS DEFENDANT

         Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant Ricoh Americas

  Corporation (“Defendant”), pursuant to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order

  dismissing Plaintiff’s claims in this action against Defendant WITH PREJUDICE and Defendant’s

  counterclaims WITHOUT PREJUDICE, with each party to bear its own costs, expenses, and

  attorneys’ fees.
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       DATED March 7, 2016.              Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 7th day of March, 2016, I electronically filed the foregoing
  document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
  Division, using the electronic case filing system of the court. The electronic case filing system
  sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

                                                /s/ Neal Massand___
                                                Neal Massand
